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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 ROSY GIRON DE REYES, et al.,

                   Plaintiffs,
 v.
                                                Civil No.: 1:16cv563-TSE-TCB
 WAPLES MOBILE HOME PARK
 LIMITED PARTNERSHIP, et al.,

                   Defendants.


                                 DEFENDANTS’ MOTION TO SEAL

        Defendants Waples Mobile Home Park Limited Partnership, Waples Project Limited

 Partnership, and A. J. Dwoskin & Associates, Inc. (collectively “Defendants”), by counsel, and

 pursuant to Local Civil Rule 5, respectfully submit their Motion to Seal (“Motion”). The grounds

 for this requested relief are set forth in a contemporaneously filed Memorandum in Support,

 along with a Proposed Order. A notice has been filed on the public docket of the request to seal,

 allowing interested parties a reasonable opportunity to object. The proposed Order is attached.
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                             Respectfully submitted,

                             WAPLES MOBILE HOME PARK LIMITED
                             PARTNERSHIP, WAPLES PROJECT LIMITED
                             PARTNERSHIP AND
                             A. J. DWOSKIN & ASSOCIATES, INC.

                             /s/
                             Grayson P. Hanes (VSB No. 06614)
                             Michael S. Dingman (VSB No. 30031)
                             Justin deBettencourt (VSB No. 83806)
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 6th day of November, 2019, I caused the foregoing to be filed

 electronically with the Clerk of the Court using CM/ECF, which will then send a notification of

 such filing to all counsel of record.



                                         /s/
                                         Grayson P. Hanes (VSB No. 06614)
                                         Michael S. Dingman (VSB No. 30031)
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